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                IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION

VINCENT SAVAGEAU,

        Petitioner,

V.                                        CASE NOS. CV112-•016
                                                     CRlO6-O922
UNITED STATES OF AMERICA,           /
                                                                            FJ)
                                                                      rn
        Respondent.
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        Before the Court is        the Magistrate Judge's RftPortand

Recommendation (Doc. 2),         to which objections have been filed

(Doc. 4) . After a careful de novo review of the record, the

Court concludes that Petitioner's objections are without merit.

Accordingly, the report and recommendation is ADOPTED as the

Court's opinion in this case and Petitioner's 28 U.S.C. § 2255

Petition is DENIED. As noted in the report and recommendation,

the Court declines to grant Petitioner a Certificate of

Appealability, rendering moot any request for leave to appeal in

forma pauperis.        The Clerk of Court is DIRECTED to close this

case.

        SO ORDERED this 491   7 day of February 2012.

                                    WILLIAM T. MOORE, JR.
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
